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        Attorneys for Plaintiffs
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   12                              IN THE UNITED STATES DISTRICT COURT
                                       FOR THE DISCTRICT OF HAWAII
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   14
        LIANE WILSON, and                               Case No. CV 11-00538 LEK BMK
   15
        JOANNA WHEELER ON BEHALF OF
   16   THEMSELVES
   17                              Plaintiffs,
   18   v.

   19   WYNDHAM WORLDWIDE                               JOINT STIPULATION AND ORDER FOR
        CORPORATION, WYNDHAM                            EXTENSION OF COURT DEADLINES
   20   VACATION OWNERSHIP, INC.,
   21   WYNDHAM VACATION RESORTS, INC.,

   22   MICHAEL JONAH, MARK POLLARD,
        TOM VIRAG, DOE I through X, and ROE
   23   BUSINESS ENTITIES I through X,
   24   inclusive,

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                                   Defendants.
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        CASE NO.: CV 11-00538 LEK BMK - JOINT STIPULATION AND [PROPOSED] ORDER FOR EXTENSION
        OF COURT DEADLINES
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    1          Pursuant to Federal Rule of Civil Procedure 26, Plaintiffs Liane Wilson and Joanna
    2   Wheeler and Defendants Wyndham Worldwide Corporation, Wyndham Vacation Ownership,
    3   Inc., Wyndham Vacation Resorts, Inc., Michael Jonah, Mark Pollard, Tom Virag, acting through
    4   their respective counsel of record, hereby stipulate and agree, subject to the approval of Court,
    5   that the Court’s Order to Amend Order Staying Discovery And All Other Court Deadlines to
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        April 16, 2013, dated March 19, 2013 (Dkt. No. 71) be amended as follows:
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               1) The parties are finalizing the written terms of Plaintiff Joanna Wheeler’s settlement
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                   agreement.
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               2) The parties have resumed settlement discussions concerning Plaintiff Liane Wilson’s
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                   claims.
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               3) The parties stipulate that all deadlines in the Court’s Order dated March 19, 2013 be
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                   extended three weeks from April 16, 2013 to May 7, 2013 in order to permit
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                   additional time for the parties to finalize Plaintiff Joanna Wheeler’s settlement
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   16              agreement and potentially resolve Plaintiff Liane Wilson’s claims.

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        OF COURT DEADLINES
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    1   Dated: April 16, 2013
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        Respectfully Submitted,
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    5
        By:    /s/ Richard S. Cohen
    6          Richard S. Cohen
               Jackson Lewis LLP                         By: /s/Carl M. Varady, Esq.______
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        Attorney for Defendants Wyndham
   11
        Worldwide Corporation, Wyndham                   /s/Felicia Medina, Esq.__________
   12   Vacation Ownership, Inc., Wyndham                SANFORD HEISLER, LLP
        Vacation Resorts, Inc., Michael Jonah,           555 Montgomery Street, Ste 1206
   13   and Tom Virag                                    San Francisco, CA 94111
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        Attorney for Defendant Mark Pollard
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        OF COURT DEADLINES
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    1
                                               ORDER
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    3   APPROVED AND SO ORDERED:
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    5   DATED: Honolulu, Hawaii, April 16, 2013.

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    9                                        /S/ Barry M. Kurren
   10                                       Barry M. Kurren
                                            United States Magistrate Judge
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        CASE NO.: CV 11-00538 LEK BMK - JOINT STIPULATION AND [PROPOSED] ORDER FOR EXTENSION
        OF COURT DEADLINES
